IT IS HEREBY ADJUDGED and DECREED that the
below described is SO ORDERED.


Dated: July 27, 2018.

                                                              __________________________________
                                                                        TONY M. DAVIS
                                                              UNITED STATES BANKRUPTCY JUDGE
__________________________________________________________________
                            UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

In re:                                                Chapter 11
RONCO HOLDINGS, INC.,                                 Case No. 18-10511 (tmd)
                  Debtor.


                                              ORDER

         BE IT REMEMBERED that there was presented to the Court the Motion for Admission

Pro Hac Vice ILOHG E\ $QWKRQ\ 6RGRQR ,,, ³$SSOLFDQW´ DQG WKH FRXUW KDYLQJ UHYLHZHG WKH

motion, has decided it is meritorious. ACCORDINGLY,

         IT IS ORDERED that the Motion for Admission Pro Hac Vice is GRANTED, and

Application may appear on behalf of himself in his capacity as Assignee for the Benefit of

Creditors of Ronco Holdings, Inc., and Trenk, DiPasquale, Della Fera & Sodono, P.C., as

counsel to the Assignee, in the above case.

         This order shall not be considered admission to practice generally before this court or the

U.S. District Court for the Western District of Texas.

                                                ###
4816-4542-2438, v. 1
                                               United States Bankruptcy Court
                                                 Western District of Texas
In re:                                                                                                     Case No. 18-10511-tmd
Ronco Holdings, Inc.                                                                                       Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0542-1                  User: boydl                        Page 1 of 1                          Date Rcvd: Jul 27, 2018
                                      Form ID: pdfintp                   Total Noticed: 2


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 29, 2018.
db             +Ronco Holdings, Inc.,   15505 Long Vista Drive, Suite 250,   Austin, TX 78728-3833
cr             +Anthony Sodono,   Trenk, DiPasquale, Della Fera & Sodono,   347 Mt. Pleasant Avenue, Suite 300,
                 West Orange, NJ 07052-2730

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 29, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 27, 2018 at the address(es) listed below:
              Brian Talbot Cumings    on behalf of Creditor Ron Satija bcumings@gdhm.com, krisinger@gdhm.com
              Caitlin C. Conklin    on behalf of Creditor    Capital 2 Thrive, LLC
               caitlin.conklin@leclairryan.com, joy.vanderweert@klgates.com
              Cassandra A. Shoemaker    on behalf of Creditor    Kaonolulu Ranch, LLLP
               cassandra.shoemaker@tklaw.com, dannette.johnson@tklaw.com;Nashira.Parker@tklaw.com
              Daniel M. Eliades    on behalf of Creditor    Capital 2 Thrive, LLC Daniel.eliades@klgates.com,
               caitlin.conklin@klgates.com
              Jason Matthew Medley    on behalf of Creditor    Capital 2 Thrive, LLC jason.medley@leclairryan.com,
               robert.gee@leclairryan.com
              Kay D. Brock    on behalf of Creditor    Travis County bkecf@traviscountytx.gov,
               kay.brock@traviscountytx.gov
              Kell C. Mercer    on behalf of Debtor    Ronco Holdings, Inc. kell.mercer@mercer-law-pc.com
              Laura L. Worsham    on behalf of Creditor    P2Binvestor Inc. lworsham@jonesallen.com,
               lmenton@jonesallen.com
              Rachel R Obaldo    on behalf of Creditor    Texas Comptroller of Public Accounts
               bk-robaldo@oag.texas.gov, sherri.simpson@oag.texas.gov
              United States Trustee - AU12    ustpregion07.au.ecf@usdoj.gov
                                                                                               TOTAL: 10
